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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: ______________________



                                                                   JURY TRIAL DEMANDED

  CHRISTOPHER T. BERES
  and
  ANDREW DELANEY,

                         Plaintiffs,

  vs.

  RELX PLC
  and
  RELX INC. d/b/a LexisNexis USA,

                    Defendants.
  ________________________________________/

                                             COMPLAINT

         Plaintiffs, CHRISTOPHER T. BERES, an attorney representing himself, and ANDREW

  DELANEY, by and through his undersigned counsel TINO GONZALEZ, ESQ. sue RELX PLC

  and RELX INC. and state as follows.

                                       JURISDICTION AND VENUE

         1.      Jurisdiction for this cause of action lies within this court by virtue of 28 U.S.C.

  1332. This is an action for defamation and the parties are diverse in citizenship.

         2.      Plaintiff, CHRISTOPHER T. BERES (“Beres”), is a citizen and resident of the

  State of Florida.


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         3.      Plaintiff, ANDREW DELANEY (“Delaney”), is a citizen and resident of the State

  of Florida.

         4.      RELX PLC is a publicly listed English holding company incorporated in England

  with its principal place of business in London, England, United Kingdom (“RELX PLC”).

         5.      RELX INC. d/b/a LexisNexis USA (“RELX INC.” and together with RELX PLC,

  “RELX”) is a Massachusetts corporation with its principal place of business in New York, New

  York and is therefore diverse in citizenship to plaintiffs by virtue of 28 U.S.C. 1332(c)(1). RELX

  owns Portfolio Media, Inc. which publishes Law360, a legal news service.

         6.      The amount of damages sought in this cause of action is $2,000,000 in

  compensatory damages and $20,000,000 in punitive damages, thus meeting the subject matter

  jurisdiction requirements of 28 U.S.C. 1332 (a) because the matter in controversy exceeds the sum

  or value of $75,000.

         7.      Venue is proper in the Southern District of Florida for the following reasons:

         a)      The tort which is the basis of this lawsuit was committed in South Florida in

  addition to all over the world. South Florida has a population of approximately 10 million people,

  thus making the alleged defamatory statements in this venue significant.

         b)      Plaintiffs are citizens of the State of Florida and reside in South Florida.

         c)      Venue is further proper because defendants have and/or continue to regularly

  conduct business in Florida. RELX is registered with the Division of Corporations, Florida

  Department of State. RELX maintains offices in Boca Raton, Fort Lauderdale, Miami, Orlando,


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  and Temple Terrace.      Its Fort Lauderdale office is located at 3550 Powerline Road, Fort

  Lauderdale, Florida 33309. Law360 has a section “Florida : Law360 : Legal News & Analysis

  https://www.law360.com › florida Legal news and analysis on Florida litigation, policy, deals” and

  “Florida Pulse” and has reporters based in Florida.

         8.      Defendants are liable to personal jurisdiction under Florida’s long-arm statute Fla.

  Stat. § 48.193 (2017) because they defamed plaintiffs in the State of Florida. Several persons in

  the State of Florida, including members of the Florida Bar, accessed the articles in Law360 in the

  State of Florida. Exhibit A. The material was accessed-thus-published in Florida. Defendants

  have transacted business and engaged in tortious conduct, by affirmative act or omission, in the

  State of Florida such that they reasonably anticipated being subject to personal jurisdiction before

  the courts of this State. Defendants have also transacted business and engaged in tortious conduct,

  by affirmative act or omission, outside of the State of Florida whereby they reasonably anticipated

  that injury would result and has, in fact, resulted upon persons within the State of Florida. As

  such, this Court has personal jurisdiction over defendants pursuant to Fla. Stat. §§ 48.193(1)(a)(2)

  and 48.193(1)(a)(6).

         9.      This Court has jurisdiction pursuant to the provisions of Chapter 501, Part II,

  Florida Statutes. The acts or practices alleged herein occurred in the conduct of “trade or

  commerce” as defined in Section 501.203(8), Florida Statutes.




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         10.     The statutory violations alleged herein occurred in or affect more than one judicial

  district in the State of Florida, including the Southern District of Florida.


                                       COUNT ONE –
                              DEFAMATION (SLANDER AND LIBEL)

         11.     This is an action for damages arising from RELX’s publication of four articles

  containing false, injurious, and defamatory statements about plaintiffs in 2021-2022. The tortious

  acts commenced on February 24, 2021 and occurred on December 20, 2021, January 4, 2022, and

  January 6, 2022.

         12.     Prior to the filing of this lawsuit, Dennis Fairbanks, Esq., Barbara Jimmis, Maria

  Morton, Anthony Trombetta, and others, all Florida citizens and residents, accessed the articles in

  the State of Florida, opened them, and read them. Mr. Fairbanks is a member of the Florida Bar.

  They said that the articles defamed plaintiffs.

         13.     Beres has been a member in good standing of the Florida Bar for almost 20 years.

  He is a professional of high repute.

         14.     Delaney was Beres’s client.

         15.     On April 15, 2020, Beres sued Toyota Motor Corporation and Toyota Motor North

  America, Inc. (collectively, “Toyota”) and Akio Toyoda on behalf of a John Doe client in the

  courts of Florida. John Doe v. Toyota Motor Corp. et al., No. 05-2020-CA-024281 (Fla. 18th Cir.

  Ct. filed on April 15, 2020). On April 22, 2020, in order to preempt an employment and public

  health lawsuit which they knew was coming against them, Toyota and its law firm, Wilmer, Cutler,



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  Pickering, Hale, and Dorr LLP (“Wilmer Hale”), had their job agency HC2, Inc. (“HC2”) sue

  Delaney in the United States District Court for the Southern District of New York (“SDNY”)

  seeking an ex parte temporary restraining order (“TRO”) and a preliminary injunction (“PI”) and

  asserting only two claims for 1) breach of contract and 2) faithless servant doctrine. HC2, Inc. v.

  Delaney, 1:20-cv-03178 (S.D.N.Y. filed on April 22, 2020) (Liman, J.). On April 22, 2020, the

  Honorable Lewis J. Liman denied HC2’s ex parte TRO motion. On May 27, 2020, Judge Liman

  also denied HC2’s application for a PI.

         16.     In rejecting the PI, Judge Liman issued an order referring to and discussing

  “Delaney’s lawyer” (Beres) and ruled that Beres’s April 7, 2020 employment demand letter to

  Akio Toyoda, Chairman of Toyota Motor Corporation, was “a routine demand letter” and “it’s not

  an extortion”. Exhibit B. The federal judge held that Beres was merely exercising his and his

  client’s rights under the law:

         “Delaney's lawyer makes the allegation that plaintiff violated Delaney's rights and then
         states ‘I hereby grant you seven days from the date of this letter to contact me with your
         offer to settle this case. If you fail to contact me by this date, I will commence legal action
         against you without further notice.’ The evidence is that letter was only given to the
         plaintiff in this case shortly before the state court complaint was filed and not with the full
         seven days. Even then it is a routine demand letter and it's not an extortion. See U.S. v.
         Jackson, 180 F.3d 55, 61, that a claim of right is not an extortion.”

  (emphasis added) Judge Liman further held that the information in the case was of no value to

  anyone and were not trade secrets.

         “Number two, there has been no showing that any information Delaney has is of any
         commercial value to any third party or that there would be any benefit to Delaney from
         disclosing that information. The only value that the information apparently has -- at least
         in Delaney's mind -- is as evidence in support of his claim against HC2.”




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  (emphasis added) Since any information was judicially determined to have no value, it would not

  have been possible to use it to “blackmail” Toyota.

             17.      Judge Liman read the order out loud in open court at a public hearing at which

  reporters, including a reporter from Law360, attended.

             18.      RELX’s Law360 has falsely and libelously written that plaintiffs have been accused

  of1 crimes and are being sued for crimes. RELX has published that plaintiffs were accused of and

  sued for extortion, blackmail, a shakedown 2, and stealing. Its headlines refer to the case as the

  “Extortion Case” or the “Blackmail Suit”. The whole purpose was to portray plaintiffs – attorneys

  in good standing for years - as criminals and persons being accused of and sued for crimes.

  However, none of these criminal terms or causes of action are contained in the SDNY complaint.

  The articles in question are not a “fair report”.

             19.      This false material clearly targeted Beres as the author of the employment demand

  letter. As is clear from the face of Beres’s letter at Exhibit B, and as ruled on by Judge Liman, it

  does not contain any of the false content ascribed to it by Law360. Firstly, there is no civil

  extortion in New York. Secondly, a predicate of extortion is a threat and a demand for money.

  On its face and per Judge Liman’s ruling, the Beres letter did not a) make a threat nor did it b)

  demand payment of money. In fact, there is no dollar amount demanded in the letter at all let alone

  “$450,000”.

             20.      In 2021 and 2022, RELX recently published four defamatory articles about

  plaintiffs. Two articles refer to Beres by name and the others are followed by links to news reports

  naming him.          See, e.g., “Ex-WilmerHale Temp Says White House Atty Lied For Toyota”



  1
      The dictionary states that "An accusation is a claim that someone is guilty of a crime or offense."

  2
      “Shakedown” is defined as “an act or instance of shaking someone down especially : extortion.”


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  (February 18, 2021) and “Toyota Stamps Out Bid To Unseal Ex-WilmerHale Temp's Case”

  (February 24, 2021).

         21.     The defamatory content in the four articles in 2021 and 2022 is presented

  chronologically below starting on February 24, 2021 as follows:



                 1.   “Toyota Stamps Out Bid To Unseal Ex-WilmerHale Temp's Case”

                                        February 24, 2021

         22.     On February 24, 2021, RELX’s Law360 published a story online with the headline:

  “Toyota Stamps Out Bid To Unseal Ex-WilmerHale Temp's Case.” This headline implies that

  Delaney worked for Wilmer Hale. The article also contains the following false and defamatory

  statement: “Hire Counsel then immediately outed Delaney as the John Doe in Florida by way of a

  Manhattan federal suit that accused him of stealing confidential information and extortion. That

  case is pending.” The Manhattan federal suit is a civil case for breach of contract. There is no

  case “pending” against Delaney for “stealing confidential information and extortion” since none

  was ever filed in the first place. It was RELX which published these false and defamatory

  accusations against plaintiffs.



                 2.   “Ex-WilmerHale Temp Moves To DQ Judge In Employment Case”

                                        December 20, 2021

         23.     On December 20, 2021, Law360 published a story online with the headline: “Ex-

  WilmerHale Temp Moves To DQ Judge In Employment Case.” The article contains the following

  false and defamatory statement:

         “Law360 (December 20, 2021, 3:48 PM EST) -- A former WilmerHale document reviewer
         said U.S. District Judge Lewis J. Liman should be disqualified from overseeing a Southern


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         District of New York suit that accuses him of extorting his former law firm because of the
         judge's alleged previous employment there.”

  (emphasis added) Law360 falsely and libelously wrote that Delaney was “accused” of “extorting

  his former law firm.” That is a very serious charge. Also, contrary to this libel, Wilmer Hale is

  not Delaney’s “former law firm”. This statement means, and would be interpreted by Law360’s

  readers in the legal industry as meaning or at least giving the impression, that Delaney, who is 59

  years old, is a former partner in Wilmer Hale. Referring to a lawyer’s “former law firm” is usually

  understood to mean that he was a partner there, especially at Delaney’s age. This is common

  parlance in the legal industry. This is especially defamatory, as Law360 knew or should have

  known, because a law partner owes a duty of loyalty to his partners and the partnership. These

  statements clearly imply that Delaney was accused of breaching his duty to “his former law firm”

  when the truth is he was not a partner there and was instead an independent contractor for Toyota’s

  job agency (HC2). This is another false and defamatory statement about Delaney designed to

  make him look even worse as a supposed ex-member of Wilmer Hale who is extorting it and its

  partners.



               3.      “Agency Pans Ex-WilmerHale Temp's DQ Bid In Extortion Case”

                                            January 4, 2022

         24.        On January 4, 2022, Law360 published a story online with the headline: “Agency

  Pans Ex-WilmerHale Temp's DQ Bid In Extortion Case.” The headline is libelous. It contains the

  following false and defamatory statement:

         “HC2 sued Delaney, who'd worked on a Toyota matter as a Thai language reviewer for
         WilmerHale via a staffing agency, for allegedly trying to extort $450,000 from the
         company, WilmerHale and the car maker, and for allegedly revealing Toyota's sensitive
         company information in a Florida lawsuit after they failed to pay up.”




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  (emphasis added) This quote clearly states that Delaney was sued for extortion.



                   4.      “Court Rejects Recusal Bid In WilmerHale Extortion Suit”

                                            January 6, 2022

          25.     On January 6, 2022, Law360 published a story online with the headline: “Court

  Rejects Recusal Bid In WilmerHale Extortion Suit.” (emphasis added) The headline is defamatory.

  It falsely asserts that Wilmer Hale sued Delaney for extortion. Wilmer Hale did not sue plaintiffs.

  HC2 sued Delaney but not for extortion, since there is no civil extortion in New York and it is a

  crime. RELX also accuses Beres of extorting Wilmer Hale by clear implication since he was

  acting for his client.

          26.     The article also contains the following false and defamatory statements:

          “Law360 (January 6, 2022, 4:54 PM EST) -- A New York federal district court said
          Thursday that it would not recuse itself in a suit against a former WilmerHale document
          reviewer that accuses him of extorting the law firm, despite his argument that U.S. District
          Judge Lewis J. Liman should be disqualified because of his previous employment there….”

          “Delaney was sued by H2C, the staffing agency that had hired him to review documents
          for WilmerHale, in April 2020. Delaney, who'd worked on a Toyota matter as a Thai
          language reviewer for WilmerHale, was accused of trying to extort $450,000 from the
          agency, WilmerHale and the carmaker, and of revealing Toyota's sensitive company
          information in a Florida lawsuit after they failed to pay up.”

          27.     Sometime after the article was published and had already been widely read, Law360

  removed the word “Extortion” from the January 6, 2022 article and changed this to read that

  Delaney was accused of “leaking sensitive law firm information”:

          “A New York federal district court said Thursday that it would not recuse itself in a suit
          against a former WilmerHale document reviewer that accuses him of leaking sensitive law
          firm information, despite his argument that U.S. District Judge Lewis J. Liman should be
          disqualified because of his previous employment there.”




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  (emphasis added) After Delaney complained to it, Law360 partially changed some of the wording.

  However, it actually made the story even worse by now adding to the pile of defamation that the

  lawsuit against “a former WilmerHale document reviewer” “accuses him of leaking sensitive law

  firm information.” Unfortunately for RELX, that is yet an additional false and defamatory

  statement about plaintiffs. Nowhere in the HC2 complaint in the SDNY are plaintiffs accused of

  “leaking sensitive law firm information.” Neither of the words “leak” nor “sensitive” even appear

  in that complaint at all. This was never reported in Law360’s previous stories about the case, only

  the most recent (January 6, 2022). It looks like a new line of libel against plaintiffs which goes to

  the heart of RELX’s intentions. Also, while removing the word extortion and replacing it with

  this new libel, Law360 expressly refused to remove the words extortion and blackmail from the

  earlier articles about the case. It stubbornly stuck to its stories.

         28.     These articles slanderously depict plaintiffs and impute misconduct to them.

         29.     Such conduct is in direct violation of law and outside first amendment protection.

         30.     The defamatory content about plaintiffs spread like a disease including on social

  media and in other publications.

         31.     The damage to plaintiffs’ reputations does not have to be imagined. Defendants’

  false and libelous statements, when considered alone and without innuendo, have a) negatively

  impacted plaintiffs’ trustworthiness and character and b) caused plaintiffs to be subject to distrust,

  ridicule, contempt, and disgrace.      There are two bases for RELX’s statements to be considered

  to be defamatory per se in that they are a) statements charging a plaintiff with a serious crime and




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  b) statements that tend to injure another in his trade, business, or profession. Both plaintiffs are

  attorneys.

         32.     The defamatory statements defendants published were made by them at least

  negligently and without regard for the truth because they knew or should have known their

  statements to be false. RELX used the four above-quoted stories to scare people and to increase

  its readership and revenues at plaintiffs’ expense during the second worst pandemic in U.S. history.

  It is important to note that this case has been the most read story in the almost 20-year history of

  Law360. Exhibit C.

         33.     As a direct and proximate result of defendants’ defamatory actions, plaintiffs have

  suffered and continue to suffer damage, including, but not limited to, damage to their reputations,

  embarrassment, pain, humiliation, mental anguish, and they have sustained past and future loss of

  earnings. No client or employer would ever hire a lawyer or individual who is accused of and/or

  being sued for crimes.

         34.     At the time the false and damaging statements were published, defendants knew or

  should have known them to be false. Defendants made their statements at least negligently, and

  nonetheless, made and/or published the statements with an intent to indulge ill will, hostility, and

  an intent to harm, thus giving rise to the right to recover punitive damages in order to deter

  defendants from engaging in this conduct in the future and hopefully restore integrity to both

  defendants and the media as a whole.




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        WHEREFORE, plaintiffs demand:

        a)     Judgment against defendants in the amount of Two Million Dollars ($2,000,000)

  as compensatory damages.

        b)     Twenty Million Dollars ($20,000,000) as punitive damages.

        c)     All taxable litigation costs, pre-judgment interest, and post-judgment interest.

        d)     A trial by jury.

  Dated: February 10, 2022                   /s/Tino Gonzalez_______
                                             Tino Gonzalez, Esq.
                                             Attorney for Plaintiff Andrew Delaney
                                             Florida Bar No.: 378089
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                                             /s/Christopher T. Beres
                                             Christopher T. Beres, Esq.
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                              CERTIFICATE OF COMPLIANCE

         I HEREBY CERTIFY that plaintiffs have complied with the pre-suit notice requirement of

  Fla. Stat. § 770.01.


  Dated: February 10, 2022                  /s/Tino Gonzalez
                                            Tino Gonzalez, Esq.

                                            /s/Christopher T. Beres
                                            Christopher T. Beres, Esq.




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